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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

    THOMSON REUTERS ENTERPRISE                       )
    CENTRE GMBH and WEST PUBLISHING                  )
    CORPORATION,                                     )   C.A. No. 20-613-SB
                                                     )
                Plaintiffs/Counterdefendants,        )   JURY TRIAL DEMANDED
                                                     )
         v.                                          )
                                                     )
    ROSS INTELLIGENCE INC.,                          )
                                                     )
                Defendant/Counterclaimant.           )

       DEFENDANT AND COUNTERCLAIMANT ROSS INTELLIGENCE INC.’S
          SECOND AMENDED ANSWER AND DEFENSES AND AMENDED
       COUNTERCLAIMS IN RESPONSE TO PLAINTIFFS’ COMPLAINT AND
                       DEMAND FOR JURY TRIAL

                                     AMENDED ANSWER

        Defendant ROSS Intelligence, Inc. (“ROSS”) hereby responds to the Complaint filed by

Plaintiffs Thomson Reuters Enterprise Centre GmbH (“Thomson Reuters”) and West Publishing

Corporation (“West”) (collectively, “Plaintiffs”).

                                 NATURE OF THE ACTION1

        1.     ROSS denies it illicitly and surreptitiously used a then-Westlaw licensee to acquire

access to and copy Plaintiff’s content, and that it is attempting to create a business or competing

product by taking for itself any features of Westlaw or “Westlaw Content,” as defined and alleged

by Plaintiffs. ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations, and therefore denies them.

        2.     ROSS denies the allegations in paragraph 2.



1
  The section headings in this Answer are provided solely for ease of reference, tracking those used
in the Complaint, and do not constitute any part of ROSS’s response to the allegations in the
Complaint or any form of admission as to the truth of those allegations.
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       3.      ROSS admits West denied ROSS’s direct access to Westlaw. Except as expressly

admitted, ROSS denies the allegations in Paragraph 3.

       4.      ROSS denies the allegations in paragraph 4.

       5.      ROSS denies the allegations in paragraph 5.

                                              PARTIES

       6.      ROSS denies that “Westlaw Content” is subject to copyright protection. ROSS

lacks knowledge or information sufficient to form a belief as to the remaining allegations, and

therefore denies them.

       7.      ROSS denies that West has any copyrightable creation or authorship in any

“Westlaw Content.” ROSS lacks knowledge or information sufficient to form a belief as to the

remaining allegations, and therefore denies them.

       8.      ROSS admits the allegations in paragraph 8.

                                JURISDICTION AND VENUE

       9.      ROSS admits that the Complaint purports to assert claims arising under the

copyright laws of the United States, specially, 17 U.S.C. § 101 et. seq. ROSS denies that this

action arises under Delaware law. ROSS admits that the Complaint purports that this Court has

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338, and 1367.

       10.     ROSS admits that the Complaint purports that venue is proper in this District under

28 U.S.C. §§ 1391(b)(2) and 1400(a).

               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

  I.   Plaintiffs and the Creativity of Westlaw

       11.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.




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       12.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       13.     ROSS admits that the “Abandoned and Lost Property” topic contains the Key

Numbers “Nature and elements,” “evidence and questions for jury,” and “operation and effect.”

ROSS admits that within the “Nature and elements” Key Number are Key Numbers assigned to

the legal issues and points of law “In general,” “Intent,” and “Acts and omissions” topics. ROSS

admits that the “In general” Key Number is delineated 1k1.1, and currently contains 603 cases.

Except as expressly admitted, ROSS denies the allegations in Paragraph 13.

       14.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       15.     ROSS admits Westlaw contains case law, state and federal statutes, state and

federal regulations, law journals, and treatises. ROSS admits that West Headnotes describe key

concepts of a case. ROSS admits that the Plaintiffs provide an example of West Headnotes and

West Key Numbers from the Harper & Row case. ROSS lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations, and therefore denies them.

       16.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       17.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       18.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       19.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.




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 II.    Plaintiffs’ Valuable Intellectual Property Rights in Westlaw

        20.    ROSS denies the West Headnotes are creative. Otherwise, ROSS lacks knowledge

or information sufficient to form a belief as to the truth of the allegations, and therefore denies

them.

        21.    ROSS denies the allegations in paragraph 21.

        22.    ROSS admits that Exhibit A purports to contain a list of copyright registrations with

the United States Copyright Office, but denies that the material registered is copyrightable subject

matter. Otherwise, ROSS lacks knowledge or information sufficient to form a belief as to the truth

of the allegations, and therefore denies them.

        23.    ROSS denies that the copyrights in Westlaw are valid, and were valid and

subsisting at all times affecting the matters complained of herein. Otherwise, ROSS lacks

knowledge or information sufficient to form a belief as to the truth of the allegations, and therefore

denies them.

III.    ROSS Intelligence and Its Infringement of Westlaw

        24.    ROSS admits it was founded in 2015 and is engaged in the business providing

judicial opinions to the public through legal research services.

        25.    ROSS admits it began by offering research services in bankruptcy and intellectual

property law and currently offers research services on case law, statutes, and regulations across all

practice areas and all 50 states.

        26.    ROSS admits that ROSS’s users are able to search for relevant law by posing a

question in natural language, as opposed to Boolean terms or key words. ROSS admits that

Paragraph 26 reflects results of a natural language search on ROSS.

        27.    ROSS denies the allegations in paragraph 27.




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       28.     ROSS admits it acquired judicial opinions to develop a legal research platform.

Except as expressly admitted, ROSS denies the allegations in Paragraph 28.

       29.     ROSS admits it contracted with LegalEase, a legal research and writing support

services company. Except as expressly admitted, ROSS denies the allegations in Paragraph 29.

       30.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       31.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       32.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       33.     ROSS admits LegalEase provided legal analysis to ROSS. Except as expressly

admitted, ROSS denies the allegations in Paragraph 33.

       34.     ROSS admits it worked with LegalEase for a period starting in October 2015.

Except as expressly admitted, ROSS denies the allegations in Paragraph 34.

       35.      Paragraph 35 states a legal conclusion to the extent it states, characterizes, or refers

to ROSS “copied” any purported copyrighted material, to which no response is required.

Otherwise, ROSS denies the allegations in Paragraph 35.

       36.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

       37.     ROSS denies the allegations in Paragraph 37.

       38.     ROSS denies the allegations in paragraph 38.

       39.     ROSS denies the allegations in Paragraph 39.




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                                        CLAIMS FOR RELIEF

                                                COUNT I

                                Copyright Infringement (17 U.S.C. et seq.)

        40.     ROSS incorporates by reference its responses to each and every allegation above

as if fully set forth herein.

        41.     ROSS denies the allegations in Paragraph 41.

        42.     ROSS denies the allegations in Paragraph 42.

        43.     ROSS denies the allegations in Paragraph 43.

        44.     ROSS denies the allegations in Paragraph 44.

        45.     ROSS denies the allegations in Paragraph 45.

        46.     ROSS denies the allegations in Paragraph 46.

        47.     ROSS denies the allegations in Paragraph 47.

        48.     ROSS denies the allegations in Paragraph 48.

                                               COUNT II

                                   Tortious Interference with Contract

        49.     ROSS incorporates by reference its responses to each and every allegation above

as if fully set forth herein.

        50.     ROSS lacks knowledge or information sufficient to form a belief as to the truth of

the allegations, and therefore denies them.

        51.     ROSS denies the allegations in paragraph 51.

        52.     ROSS admits Plaintiffs denied ROSS direct access to Westlaw. Except as expressly

admitted, ROSS denies the allegations in Paragraph 52.

        53.     ROSS denies the allegations in paragraph 53.




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                                      PRAYER FOR RELIEF

        ROSS denies that Plaintiffs are entitled to any relief whatsoever, specifically including the

relief specified in its Prayer for Relief.

                                             JURY DEMAND

        ROSS admits that Plaintiffs have demanded a jury trial on all issues triable to a jury.

                                              DEFENSES

        ROSS sets forth its defenses below, and in doing so, ROSS does not allege or admit that

it has the burden of proof and/or persuasion with respect to any of these matters, and does not

assume the burden of proof and/or persuasion as to any matters to which Plaintiffs bear such a

burden. ROSS reserves its right to amend its Answer to assert other defenses as they may

become known.

                                      FIRST DEFENSE
              (Failure to State a Claim for Tortious Interference with Contract)

        Plaintiffs’ tortious interference with contract claim fails to state a claim upon which relief

can be granted.

                                        SECOND DEFENSE
                                         (Double Recovery)

        Recovery on any alleged tortious interference by ROSS with the contract between

LegalEase and Plaintiffs is barred due to the double recovery. Plaintiffs would receive, having

already sued and entered in a consent judgment with LegalEase for LegalEase’s alleged breach

of its contract with Plaintiffs.

                                         THIRD DEFENSE
                                       (Statute of Limitations)

        Plaintiffs’ tortious interference with contract claim is barred under California’s two-year

statute of limitations.



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                                       FOURTH DEFENSE
                                          (Good Faith)

       ROSS’s actions were taken in good faith, in reliance upon information provided by

LegalEase’s representatives, agents, and/or employees, and with a reasonable belief that such

actions were legal, appropriate and necessary. The conduct alleged to be in violation of a statute,

if any such conduct occurred, was purely unintentional, and occurred, if at all, despite ROSS’s

reasonable and appropriate efforts to avoid any such violation.

                                      FIFTH DEFENSE
                (Equitable Doctrines – Consent, Waiver, Laches and Estoppel)

       Plaintiffs’ tortious interference with contract claim is barred, in whole or in part, by

equity and the doctrines of consent, waiver, laches, and estoppel.

                                        SIXTH DEFENSE
                                        (Tort of Another)

       Without admitting any liability and without admitting that Plaintiffs have suffered any

loss or damage whatsoever, Plaintiffs tortious interference with contract claim is barred, in whole

or in part, by the intervening tort of a third-party, for which ROSS is not liable.

                                    SEVENTH DEFENSE
                             (Equitable Doctrines – No Injunction)

       Plaintiffs are not entitled to injunctive relief because any alleged injury to Plaintiffs is not

immediate and irreparable, and Plaintiffs have an adequate remedy at law.

                                      EIGHTH DEFENSE
                     (Failure to State a Claim for Copyright Infringement)

       Plaintiffs’ copyright infringement claim fails to state a claim upon which relief can be

granted.




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                                       NINTH DEFENSE
                                  (No Copyright Infringement)

        ROSS has not infringed, does not infringe (either directly or indirectly), and is not liable

for any valid copyright or copyright rights of Plaintiffs’, including without limitation, any

copyright rights in the works that are the subject of the asserted copyrights.

                                      TENTH DEFENSE
                                   (Fair Use – Copyright Act)

        ROSS’ alleged conduct constitutes fair use pursuant to 17 U.S.C. § 107.

                                    ELEVENTH DEFENSE
                         (Invalidity or Unenforceability of Copyrights)

        Plaintiffs are not entitled to recover on their purported copyright claim because one or more

of Plaintiffs’ copyrights are invalid and/or unenforceable, including by reason of lack of

originality.

                                     TWELFTH DEFENSE
                         (Invalidity or Unenforceability of Copyrights)

        Plaintiff's claims are barred since critical part or portions of their alleged protected

copyrights are invalid due to consisting of un-protectable idea(s) or processes.

                                   THIRTEENTH DEFENSE
                         (Invalidity or Unenforceability of Copyrights)

        One or more of Plaintiffs’ copyrights have elements taken from the public domain upon

which a copyright infringement action cannot be maintained, including under the government

edicts doctrine.

                                   FOURTEENTH DEFENSE
                                     (Doctrine of Merger)

        One or more of Plaintiffs’ copyrights is barred by the doctrine of Merger.




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                                     FIFTEENTH DEFENSE
                                    (Doctrine of Scenes a Faire)

        One or more of Plaintiffs’ copyrights is barred by the “scenes-a-faire” doctrine.

                                     SIXTEENTH DEFENSE
                                       (Copyright Misuse)

        Plaintiffs have engaged in one or more acts that have misused their copyrights including

 but not limited to having wrongfully attempted to extend the scope of the limited monopoly granted

 by the Copyright Act. Defendants reserve the right to assert one or more antitrust related claims.

                                    SEVENTEENTH DEFENSE
                                      (Innocent Infringement)

        Defendant's conduct was innocent, non-infringing, and not a willful infringement of

 copyright.

                                   EIGHTEENTH DEFENSE
                               (Copyright Section 117 Limitations)

        This action is barred by 17 U.S.C. §117 limitations on exclusive rights.

                                    NINETEENTH DEFENSE
                                      (Lack of Ownership)

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs are not the owner of

 one or more Copyrights at issue.

                                  TWENTIETH DEFENSE
                       (Authorized Use, License, Consent Acquiescence)

        Plaintiffs’ claims are barred, in whole or in part, by license or the doctrine of implied

 license because Plaintiffs impliedly or explicitly, directly, or indirectly, authorized, licensed,

 consented to, or acquiesced to ROSS’s allegedly infringing use of Plaintiffs’ works.




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                                     TWENTY FIRST DEFENSE
                                       (First Sale Doctrine)

         This action may be barred by the “first sale doctrine” because if lawfully obtained and

 possessed one or more of Plaintiff's copyrighted works. 17 U.S.C. §109(a).

                                 TWENTY SECOND DEFENSE
                                     (First Amendment)

         Plaintiffs’ copyright claim is barred to the extent the “Westlaw Content” are protected by

 the First Amendment of the U.S. Constitution.

                                     TWENTY THIRD DEFENSE
                                       (Copyright Preemption)

         Plaintiffs’ tortious interference claims are preempted or otherwise barred by 17 U.S.C. §

 301.

        DEFENDANT ROSS INTELLIGENCE INC.’S AMENDED COUNTERCLAIMS

         1.     This is a case about the public right of access to the rules of our democracy and

 Westlaw’s anticompetitive tactics to keep “the public law” from most Americans and maintain its

 monopoly.

         2.     “The public law” is the decisions of federal and state courts, the laws enacted, and

 the administrative guidance. This is the material we the people reference when saying that ours is

 a government of laws, not of men.

         3.     The right to access to the public law has been well-recognized by courts throughout

 the nation for hundreds of years.

         4.     Nevertheless, as every judge, law clerk, professor, practicing lawyer, paralegal, law

 student, and other participant in the legal ecosystem knows, when it comes to accessing the public

 law, Westlaw is king.




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        5.      Counterdefendants market and sell Westlaw, which controls over 80% of the

 market for legal search platform products. Westlaw’s2 status as king of legal search has been

 unchallenged for more than a century. Westlaw’s control over legal search is not only enduring,

 it is incredibly lucrative – Counterdefendants reap billions in revenue at supra-competitive prices.

 As a result, most Americans have no way to credibly search the public law and are forced to rely

 on others to understand the rules of our democracy.

        6.      Counterclaimant ROSS Intelligence Inc. (“ROSS”) is a nascent competitor in the

 market. ROSS built a robust and intuitive legal search engine that uses artificial intelligence and

 other technology with the goal of making the public law accessible to every American. ROSS

 secured substantial investment to develop and launch its product. The legal technology community

 uniformly recognized that ROSS’s product was poised to reshape the market.

        7.      Ultimately – despite substantial venture capital investment, disruptive technology,

 and widespread enthusiasm – ROSS never really had a chance. ROSS brings this antitrust case

 against Westlaw for engaging in an exclusionary and anticompetitive course of conduct to maintain

 its monopoly and restrain trade. This conduct both harmed ROSS and injured American consumers

 by depriving them of access to the public law.

        8.      ROSS will show that Westlaw does not maintain its exalted status in legal search

 through innovation or procompetitive business practices. To the contrary, at its essential core, the

 Westlaw platform has not kept up with technological advances and its search functionality is

 substantially behind the search functionality offered in other products.




 2
   Counterdefendants Thomson Reuters Enterprise GmbH and West Publishing Corp. are herein
 referred to as “Counterdefendants” or “Westlaw.”


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        9.      Instead, Counterdefendants use anticompetitive sales and licensing regimes

 supported by a web of sham copyrights and intimidation tactics to crush potential rivals like ROSS.

 As a result, despite massive advances in technology, including the advent of the Internet and

 artificial intelligence, not a single credible threat to Westlaw dominance has emerged.

        10.     To end those anticompetitive practices, bring competition to the market, increase

 consumer welfare, and make the public law really and truly available to the public, ROSS asserts

 the following amended counterclaims.

                                  NATURE OF THE ACTION

        11.     ROSS seeks injunctive and monetary relief for Counterdefendants’ exclusionary

 conduct to maintain monopoly control in violation of Section 2 of the Sherman Act.

        12.     ROSS seeks injunctive and monetary relief for Counterdefendants’ anticompetitive

 practices and agreements in violation of Section 1 of the Sherman Act.

        13.     ROSS also seeks injunctive and monetary relief for Counterdefendants’ unfair

 business practices in violation of the California Unfair Competition Law.

        14.     Finally, ROSS seeks declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202,

 preliminary and permanent injunctive relief, and other necessary and proper relief, enjoining

 Counterdefendants from impeding ROSS’s publication of any public law, and from alleging that

 ROSS has tortiously interfered with any contract.

                                            PARTIES

        15.     ROSS is a corporation organized under the laws of the State of Delaware, having a

 principal place of business at 650 California Street, San Francisco, California 94108.

        16.     Thomson Reuters Enterprise Centre GmbH (“Thomson Reuters”) is a limited

 liability company having its principal place of business in Zug, Switzerland.




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        17.     West Publishing Corp. (“West”) is a Minnesota corporation having its principal

 place of business at 610 Opperman Drive, Eagan, Minnesota 55123.

                                  JURISDICTION AND VENUE

        18.     Based on the allegations in Counterdefendants’ complaint filed in this action

 (herein, the “Complaint”), see D.I. 1, there presently exists a justiciable controversy regarding the

 validity, copyrightability, and ownership of certain content purportedly owned by

 Counterdefendants.

        19.     This Court has subject matter jurisdiction over these Counterclaims pursuant to 28

 U.S.C. §§ 1331, and 1338(a), and because ROSS’s claims arise under the Copyright Act 17 U.S.C.

 § 101 et seq., the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq, and the Sherman Act, 15

 U.S.C. § 1 et seq.

        20.     Counterdefendants are subject to personal jurisdiction in this Court because they

 have submitted to jurisdiction of the Court by filing the Complaint.

        21.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and/or 1400 at least

 because Counterdefendants have filed the Complaint in this District.

        22.     Pursuant to 28 U.S.C. § 1367(a), the Court has supplemental subject-matter

 jurisdiction over ROSS’s state-law claim because this claim is so related to the copyright and

 antitrust claims herein that it forms part of the same case or controversy.

                                   GENERAL ALLEGATIONS

 ROSS & Counterdefendants’ Complaint

        23.     ROSS is a modern legal search company that has designed a product to provide

 consumers with simplified access to the public law at affordable prices.




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        24.     Over years of work, ROSS developed a powerful natural language search engine

 based on artificial intelligence. Based on natural language search queries, ROSS’s search engine

 can search through a database of public law and identify legal materials responsive to the query

 from within the database.

        25.     ROSS sold access to its AI-based legal search product for less than $100 per month,

 a tiny fraction of what Westlaw charges.

        26.     Westlaw controls the largest, most comprehensive, and most reliable public law

 database, but only makes that database available to those who also license its legal search tools

 through the Westlaw platform.

        27.     Westlaw denied ROSS access to the Westlaw platform and thus also the public law

 database. According to Westlaw, then, ROSS had to access the public law through smaller, less

 comprehensive, and less reliable databases.

        28.     ROSS looked for alternatives and eventually obtained a degree of access to the

 public law through small companies called Fastcase and Casemaker. However, unlike Westlaw,

 Fastcase and Casemaker makes their public law database available to those who choose not to also

 license their legal search tools in a bundled product, even if the database purchaser is a competitor.3

        29.     Once ROSS’s AI search engine is connected to a public law database, it can identify

 cases from within the database after receiving a natural language search query. ROSS’s search

 engine only searches through the raw public law and not extraneous materials added by other

 content providers, like Westlaw’s key numbers, headnotes, and page numbers. Indeed, ROSS’s

 training process was specifically designed to be incapable of digesting information that was added




 3
  Fastcase and Casemaker have very recently merged into a single company. The merger in no
 way impacts Westlaw’s monopoly power.


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 to the public law by third parties like Westlaw, including key numbers, headnotes, and page

 numbers.

        30.     ROSS contracted with legal research companies for assistance in training the AI

 search algorithm, including a small company called LegalEase. ROSS directed LegalEase to

 provide researcher-chosen quotes of case law directly from raw judicial opinions.

        31.     ROSS explicitly told LegalEase that it did not want any third-party information

 beyond the LegalEase researcher-chosen quotes of case law from raw judicial opinions.

        32.     According to Westlaw’s Complaint, LegalEase used the Westlaw platform to

 conduct legal research and prepare its responses for ROSS.

        33.     According to Westlaw’s Complaint, when LegalEase accessed the public law

 through Westlaw in support of the ROSS contract, LegalEase breached its license agreement with

 Westlaw and was liable. Also according to Westlaw, when ROSS received and used LegalEase’s

 work product quoting judicial opinions to train its AI technology, ROSS was liable for copyright

 infringement and tortious interference.

        34.     The Westlaw license agreement is a contract of adhesion that must be and is

 accepted by licensees, including most major legal service providers. It prohibits copying and

 distributing significant portions of materials found on Westlaw, even if none of the material is

 protected under a valid copyright. The license also prohibits using any material found on Westlaw

 to support a competitor.

        35.     West sued the much smaller LegalEase in Federal Court in Minnesota and extracted

 a settlement. Through the lawsuit, West gained access to information from LegalEase and third-

 party ROSS under a protective order issued by the Minnesota Court.

        36.     Westlaw believes that this information supports its Complaint.




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        37.     One day after the West-LegalEase action was dismissed, Westlaw sued ROSS,

 without obtaining relief from the Minnesota protective order.

 The Westlaw Platform

        38.     In paragraph 11 of the Complaint, Westlaw describes its platform as “a

 comprehensive collection of legal information that is easily searchable.” Based on this description

 and personal knowledge4, the Westlaw platform bundles two products: (1) a comprehensive

 database (or digital collection) of the public law and (2) a legal search technology and functionality

 product – or, for brevity’s sake, legal search tools.

        39.     Westlaw has built up its comprehensive collection of public law since the 19th

 century. On information and belief, this database is comprehensive because it includes at least

 every federal and state judicial opinion, statute, and regulation in United States history.

        40.     While the opinions are written by judges, the statutes are written by legislatures,

 and the regulations are written by government agencies, Westlaw asserts a copyright interest in the

 comprehensive database.

        41.     Westlaw asserts that its database is reliable because it is regularly updated with new

 opinions, legislation, and guidance, and is also regularly audited to confirm its accuracy.

        42.     In the 19th Century, and for decades afterwards, Westlaw stored its collection of

 public law in volumes of hard copy books that could be purchased and updated when new volumes

 became available. To the extent possible given physical limitations, Westlaw sought to include all

 the public law in its voluminous collections. Today, the public law collection is stored virtually,




 4
  To the extent that Counterdefendants claim that ROSS’s legal team violates the Westlaw license
 when it uses ROSS’s or its own personal knowledge about the Westlaw platform to prepare the
 Amended Answer, this is, and should be treated as, further evidence that Westlaw is acting in a
 way that is anticompetitive and violates the public policy goals of the copyright law.


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 and made available through a subscription to the Westlaw platform that can be accessed through

 the Internet.    As the physical limitations are now gone, the digital collection is truly

 comprehensive.

        43.      The public law database made available through Westlaw is a highly valuable

 product because it is comprehensive and reliable, and because it can be accessed virtually and all

 at once. On information and belief, some of the public law available in Westlaw’s database is not

 available anywhere else. For example, on information and belief, Westlaw had at least at one time,

 and likely still today, exclusive agreements with governmental agencies to retrieve and ultimately

 use their governmental edicts for licensing purposes.

        44.      Just as importantly, consumers can feel confident when looking for cases in

 Westlaw’s digital collection. The Westlaw database has been the standard for collecting judicial

 opinions, legislation, and regulations since before any currently practicing lawyer was born. Not

 only do users know that Westlaw’s digital collection includes all the potentially relevant public

 law, but they also have (in many cases) years and years of experience knowing that Westlaw’s

 collection of public law is complete and reliable.

        45.      The Westlaw platform also incorporates a legal search technology and functionality

 product (the “legal search tools”) that can be used to search the public law. Westlaw legal search

 tools purport to help users search through large amounts of public law to find desired material.

 Just as stock analysts need tools to search through the enormous amount of stock data, lawyers

 need tools to search through the enormous amount of public law. According to the Complaint,

 Westlaw refers to this product as the “Westlaw Content.”

        46.      According to the Complaint, the “backbone” of the Westlaw legal search tools is

 the West Key Number System. The West Key Number System is a “hierarchy” reflecting core




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 concepts in the public law and used to organize the public law. The Complaint contends that the

 West Key Number System “is the result of decades of human creativity and choices.”

        47.     Westlaw purports to maintain copyrights in the West Key Number System, which

 Westlaw asserts is incredibly valuable.

        48.     In reality, the West Key Number System is not copyrightable, irrelevant to most

 users, and out of sync with how most users perform legal search. In reality, the West Key Number

 System is a relic of another time. The West key numbers have absolutely no creative value and

 are not novel. Westlaw did not decide how the law is organized. Westlaw did not determine the

 elements of legal claims. Westlaw did not come up with the structure and organization of legal

 principles. These ideas and concepts derive from the common law and the generations of public

 legal discourse and thought that are the building blocks of our public legal practice. Westlaw has

 no copyright ownership in this.

        49.     According to the Complaint, the Westlaw legal search tools also include the West

 Headnotes and notes of decision.

        50.     Westlaw purports to maintain copyrights in the West Headnotes and notes of

 decision, which Westlaw also asserts are incredibly valuable. In reality, the West Headnotes and

 notes of decision are not useful or copyrightable.

        51.     In reality, the West Headnotes and notes of decision are hierarchical lists of basic

 legal concepts that no one owns, ranging in sophistication from verbatim recitations of the public

 law to simple phrases derived from and closely tracking the verbatim public law.

        52.     Westlaw cites its two best examples of allegedly copyrightable headnotes in the

 Complaint. Neither example, however, includes any creativity, expression, or interpretation. The

 examples are headnotes 7 and 8 for the Supreme Court decision Harper & Row Publishers, Inc. v.




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 Nation Enterprises, 471 U.S. 539 (1985). See D.I. 1 ¶ 15. Headnote 7 is a condensed restatement

 of analysis within the opinion. Headnote 8 is a verbatim quote from the opinion. There are literally

 thousands of West Headnotes and notes of decision nearly identical to these two. Westlaw cannot

 seriously assert a copyright interest in these quotes, and doing so is a blatant violation of the policy

 interests behind the federal copyright laws.

         53.     Westlaw purported at one time to maintain copyrights in the page numbers it added

 to the public law. In reality, the Westlaw page numbers are not copyrightable but Westlaw fought

 that in court. The Second Circuit affirmed that Westlaw’s so-called “star pagination” notations

 embedded into judicial opinions are not copyright-eligible. See Matthew Bender & Co. v. W. Publ.

 Co., 158 F.3d 693 (2d Cir. 1998).

         54.     On the same day, the Second Circuit affirmed the same district court’s judgment

 that “additions of certain factual information to the text of [judicial] opinions, including parallel

 or alternative citations to cases, attorney information, and data on subsequent procedural history”

 are also not copyright-eligible. See Matthew Bender & Co. v. W. Publ. Co., 158 F.3d 674 (2d Cir.

 1998); see id. at 677 (“All of West's alterations to judicial opinions involve the addition and

 arrangement of facts, or the rearrangement of data already included in the opinions, and therefore

 any creativity in these elements of West's case reports lies in West’s selection and arrangement of

 this information. In light of accepted legal conventions and other external constraining factors,

 West’s choices on selection and arrangement can reasonably be viewed as obvious, typical, and

 lacking even minimal creativity.”).

         55.     In other words, despite the above and contrary legal decisions, Westlaw continues

 to maintain that every aspect of the so-called “Westlaw Content” is copyrightable and protected

 under the Copyright Act.




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        56.     Westlaw uses its alleged copyrights to restrict access to the public law, protect its

 monopoly power, stifle innovation, and charge supra-competitive prices.5

 ROSS’ Rise & Fall

        57.     ROSS started in 2014 when two computer scientists at the University of Toronto, a

 world-leading AI research institute, teamed up with a lawyer to invent a legal search product that

 makes legal research more intuitive, efficient, and accessible. The company built its prototype

 without any funding, and soon thereafter began seeking investors to further develop the product

 and enter the market.

        58.     Investors quickly grew curious. Lawyers in the United States spend $8 billion on

 legal research software annually, and the demand for innovative legal search tools that are cheap,

 simple, reliable, and efficient remains very high.

        59.     Owing to the expense and perceived inefficiency in legal services, interest in

 innovative legal technology has reached a fever pitch.           The American Bar Association

 recommended in 2016 to establish the Center for Legal Innovation “to reshape the delivery of, and




 5
   Westlaw’s abusive business conduct actually goes very far back – to its very first decades as a
 corporation. In 1882, John B. West and his brother established the West Publishing Corporation,
 with laudable ambitions to provide frontier lawyers with a cheap and efficient means to learn about
 new cases. For almost twenty years, West built his company into the nation’s leader in legal
 publishing, in large part because of the method for classifying cases, called the key number system,
 that met lawyers’ expectations, joined established modes of thinking about the law and, thus, had
 utility. But in 1899, West suddenly left his company. Though the reasons are not well known, it
 is known that in 1908 West gave a scathing speech about the state of legal publishing, and in
 particular derided the West Publishing Corporation’s classification system and its abusive use of
 unofficial case reporters. West sought to build a better and fairer publishing company after leaving
 his former corporation, the Keefe-Davidson Law Book Company, but the new business was never
 able to get off the ground. ROSS, not Westlaw, is trying to realize West’s laudable ambitions and
 make the public law truly accessible. Westlaw instead is following the footsteps of its predecessor-
 in-interest, and pursuing abusive and exclusionary conduct to preserve its market power. See
 Robert M. Jarvis, John B. West: Founder of the West Publishing Company, 50 A.M. J. Legal Hist.
 1 (2008).


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 access to, legal services for the 21st century.”         See www.americanbar.org/groups/centers_

 commissions/center-for-innovation/AboutUs/. Since its enactment, the Center has partnered with

 lawyers, technologists, and innovators to “[e]ncourage and accelerate innovations that improve the

 affordability, effectiveness, efficiency, and accessibility of legal services.” Id.

        60.     The Center has pursued several creative lines for technology development and

 remains active. For example, the “Legal Tech for Change Project” is a project to expand access

 to cutting-edge technology for all members of the legal community. See www.americanbar.org/

 groups/centers_commissions/center-for-innovation/programs-and-projects/.6

        61.     Similarly, the state bars for New York, California, Illinois, and Texas all have

 committees or subsections that identify and promote new technology that improves access to the

 public law. As just one example, the State Bar of Texas’ Computer and Technology Council has

 an Emerging Technology working group. See sbot.org/about/committees-and-working-groups/.

        62.     Corporate clients and law firms across the country have also jumped with

 enthusiasm at the opportunity to identify and ultimately use innovative and powerful legal search

 products. Corporate legal departments have, for example, established The Corporate Legal

 Operations Consortium (“CLOC”) as a global community of experts focused on redefining the

 delivery of legal services and the business of law. Law firms have also, for example, established

 technology committees to identify and evaluate new legal software to use for litigation, corporate,

 and regulatory matters. These are just a few of the many developments that evidence growing

 demand for greater choice and innovation in products that support legal research.




 6
  ROSS was actually a founding member of the Legal Tech for Change Initiative. The company
 has taken a leadership position in expanding the market for legal search platforms to tap into unmet
 consumer demand and close the legal representation gap.


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        63.     Moreover, these initiatives are not just passion projects. The market for legal

 services is in desperate demand for better technology. Since the Great Recession, law firms have

 been forced to tighten belts and justify costs. Whereas in 2008 law firms recovered over 80% of

 legal research costs from clients, in 2020 they recovered less than 30%. And over the same period

 of time, the percentage of law firms that have moved to relying on a single legal search product

 has increased from around 10% to over 50%. Both trends are expected to continue.

        64.     Access to adequate legal representation is also seriously deficient because the cost

 of the law is so high. While Americans with the greatest ability to pay for legal services have

 options, Americans that have less ability to pay are substantially foreclosed from professional legal

 services. These Americans have no less of a need for effective legal representation, but cannot

 pay the high costs. A more competitive market for legal research tools would help to grow the

 market for affordable legal services, tap into unmet consumer demand, and significantly close the

 legal representation gap.

        65.     Given the widespread interest in and need for a better, cheaper, and more efficient

 way to do legal research and ROSS’s innovative AI-based approach to legal search, ROSS was

 offered an opportunity to present to the prestigious start-up incubator, Y Combinator.

        66.     After the initial presentation, Y Combinator’s leadership was very interested. They

 saw how ROSS’s product could tap into the substantial demand for greater choice and flexibility

 in legal research tools – and the opportunity to invest in a product that makes legal research simple

 and intuitive was hard to ignore. They also understood that a quality AI-based natural language

 search engine could overcome the training-based switching costs that protect Westlaw’s market

 dominance. However, while they saw the market potential, they also understood the risk that

 Westlaw would move to protect its strangle grip on the market.




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        67.     Y Combinator ultimately invested in ROSS. They recognized that the concentrated

 market for legal search products means unmet demand and inefficiencies in the legal services

 community. And they believed in the extraordinarily valuable and disruptive potential of ROSS’s

 product. ROSS primarily used the significant financial investment to develop its AI technology

 for the legal search engine.

        68.     As ROSS approached customers, there was widespread support for the company’s

 innovative, AI-based legal search product, and equally strong recognition that such technology

 could make legal research easier, cheaper, and more accessible. ROSS received similar praise

 from the media and major bar associations across the country as well – many hoping and predicting

 that ROSS would be on the leading-edge of significant market change for the better.

        69.     But then customers asked what digital public law collection was connected to the

 legal search engine. And this proved to be a serious problem. ROSS knew that it could not obtain

 access to Westlaw’s database, despite its significant willingness to pay for that product. Westlaw

 has never offered to license its database separate from its search tools and, in any event, Westlaw

 had denied ROSS access to the platform as well.

        70.     Moreover, there was no practical or reliable way for ROSS to obtain a digital

 collection of public law on its own. There are no APIs for public law and no downloadable files

 to obtain large collections of the public law. And to this day, government agencies do not generally

 offer their public law in a downloadable format for free or at market cost. On information and

 belief, this is due, in part, to Westlaw having exclusive contracts with government agencies to be

 the exclusive provider of primary law in a digital format.

        71.     So, ROSS instead built its public law database through other sources. It purchased

 some cases from Casemaker, and other public law from Fastcase, starting only in bankruptcy, but




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 steadily expanding out to intellectual property law, and labor/employment law as well. The hope

 was that ROSS could first build interest from subject-matter-specific legal practitioners, and then

 with the initial wave of users grow its product until it could offer comprehensive access to the

 public law. Given the widespread interest in better and cheaper legal research options, and ROSS’s

 innovative technology, the company did have some success through this practice. ROSS was able,

 for example, to secure a license with a large national labor/employment firm.

        72.     But ultimately, the spliced-and-put-it-back-together approach to building its public

 law database just was not adequate. Even after ROSS made a large investment to partner with

 Fastcase and fill the gaps in its digital collection, customers were still not convinced.

        73.     There was no doubt that ROSS’s search engine was incredibly valuable. The

 problem instead was that the database connected to the search engine lacked what the customer

 needed. For example, some customers voiced concerns that a substitute database might not be

 sufficiently comprehensive. Without access to Westlaw’s database, they might miss an important

 older case or an unpublished opinion that would give the opposing counsel an advantage. Or there

 might be a new decision that has not been added to the database yet. Customers also feared relying

 on a database that was not viewed in the legal community as reliable and the well-known standard.

        74.     These customers instead licensed Westlaw’s legal search product solely because it

 includes Westlaw’s well-known digital public law collection. They acknowledged that ROSS’s

 search engine is better than Westlaw’s legal search tools, and some even indicated that combining

 ROSS’s search engine with Westlaw’s database would produce a better platform than anything

 available in the market. But these customers, ultimately, were reluctantly willing to use Westlaw’s

 ineffective legal search tools if it meant access to the high-quality database.




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        75.     ROSS faced this problem everywhere – from solo practitioners to full-service big

 law firms. To many of these customers, it was not just about the fact that the database connected

 to ROSS’s search engine had less public law, but also the fear of accessing and relying on a newly

 created digital public law collection. These customers had confidence that Westlaw’s database

 would have the materials they needed through years of using the database and seeing colleagues

 and classmates use it as well. A new digital public law collection, pulled together by smaller and

 unknown companies, was too great a risk to bear.

        76.     And given this concern, customers would always fall back on Westlaw. They

 needed to license the Westlaw platform because that is the only way to access Westlaw’s database,

 and they needed to access Westlaw’s database. Even though they did not want to purchase

 Westlaw’s legal search tools as well, they were forced to purchase them, as they had no way to

 access Westlaw’s database without them. And having already being forced to pay for the Westlaw

 legal search tools through licensing the Westlaw platform, these customers decided that it just did

 not make sense to license the ROSS product or any other alternative legal search product as

 well. By making customers take the Westlaw legal search with its database, then, Westlaw keeps

 other legal search options out of the market.

 The Relevant Markets

        77.     There is a relevant market for legal search platform products (“legal search

 platforms”). A legal search platform combines a legal search functionality product with a database

 of public law. The relevant geographic area is the United States.

        78.     For some customers, there is currently no substitute for a legal search platform.

 These customers license legal search products to practice law or for educational purposes. For

 these customers, if the database is not connected to a legal search tool, then it holds no value.




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 There is too much public law to efficiently and effectively identify the relevant material without

 search functionality. These customers prefer the convenience and reliability of a bundled platform

 product.

        79.     For other customers, there is a growing interest in unbundled search products, or

 other flexible options for digital legal research. This nascent demand includes customers like the

 ABA, state bars across the country, and major law firms, which have a desire to develop new

 technologies that can lower costs, improve efficiency, add greater flexibility, and tap into

 substantial unmet demand. For these customers, legal search tools could be a valuable product as

 long as the technology exists to allow the consumer to combine the tools with a public law

 database.

        80.     Consequently, there are relevant markets for public law database products and legal

 search technologies in the United States. Customers in these markets include both end-users like

 law firms, intermediate buyers like bar associations that seek to expand access to the law, and

 intermediate buyers like ROSS that need access to a database to develop, test and market their

 platform products.

        81.     In the market for legal search platforms, Westlaw and ROSS are competitors.

 Monopoly Power

        82.     Westlaw has both market and monopoly power in the market for legal search

 platforms.

        83.     In a 2020 trade survey, 83% of responding United States law firms reported having

 a Westlaw license. Among AmLaw 100 firms, which account for well over 80% of legal revenue

 in the United States, this license-share rises to 95%.




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        84.     The extraordinarily strong license-share is also likely to maintain over time. Only

 1% of responding law firms reported that they are “extremely likely” to eliminate their Westlaw

 license once the contract expires, and only 4% more responded that they are “moderately likely”

 to do so. Given that the share of law firms only using one legal search product has increased five-

 fold in the last decade, and given that this trend is predicted to continue, Westlaw can confidently

 expect that it will continue to be licensed by nearly every law firm across the country for years to

 come, even while those firms discard alternative products.

        85.     Westlaw also accounts for the majority of legal information spending among U.S.

 law firms, and well more than double the closest rival. These ratios have been the same since at

 least 2018, and also remain stable when law firms project three years into the future. The survey

 also reports that Westlaw is considered “essential” by at least 43% of respondents.

        86.     A 2020 trade report similarly states that Westlaw is the platform most often used

 by small, midsize, and big law firms, and that this dominant position has been stable since the

 earliest date where data is available. The report also indicates that Westlaw has market dominance

 within law schools, where students are trained on how to use the platform.

        87.     Westlaw’s control over licenses and revenue has been stable despite consistently

 requiring customers to pay significantly higher prices than any of its rivals. Westlaw charges

 AmLaw 100 law firms millions of dollars a year. Each search on the platform for a mid-size or

 big law firm costs up to $172, which is almost double the cost-per-search for its closest rival. The

 price difference quickly expands as the number of lawyers at the firm, and the number of searches

 each lawyer completes, increases. Moreover, this Westlaw price represents a 20% increase

 compared to what Westlaw charged in 2020. Westlaw has been steadily increasing its prices even

 while the costs of cloud computing and storage have steadily fallen.




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          88.   The difference is present amongst small firms as well. Westlaw charges solo

 practitioners that accept a three-year subscription plan $396 per month, with 5% annual price

 increases, over twice the amount that the closest rival charges under a similar three-year plan.

          89.   Given that the United States legal information market is $8 billion per year,

 Westlaw is reaping billions in revenue due to their monopoly position.

          90.   Westlaw’s power in the legal search platform market is protected by substantial

 barriers to entry and expansion. Importantly, Westlaw’s monopoly in legal search is protected by

 significant lock-in and high switching costs, network effects, and differential pricing practices for

 separate consumer bases.

          91.   Westlaw offers its platform and training support to those entering the legal market

 like law students for free to “get them hooked.” Westlaw also expends significant resources to

 provide training and other support to licensees. Once users have expended the energy and

 resources to build the skills to use a specific platform, it is highly unlikely that those users will

 make the choice to switch to another. Indeed, this is one reason why it’s so common to hear a

 lawyer say “I use Westlaw” and who has almost no experience with another platform. Law schools

 hold classes where students learn how to use Westlaw because the platform has become a seeming

 prerequisite for every law job.

          92.   Westlaw’s dominant market position has also seeped into the judiciary. The Local

 Rules for many courts (including this one) expressly refer to Westlaw when stating how to cite to

 cases.

          93.   Westlaw’s differential pricing for separate consumer bases facilitates the lock-in.

 Westlaw offers different prices for access to the same or substantially similar material. Most

 notably, on information and belief, Westlaw licenses the platform to law schools and governments




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 essentially for free, while Westlaw licenses the platform to large law firms on a very expensive

 pay-per-search basis.

        94.     And network effects amplify the switching costs. As more people use a particular

 legal search platform, its value to existing participants rises, incentivizing more to join. The study

 and practice of law is collaborative. Identifying and understanding the right cases or statutes to

 apply to a particular fact pattern is a complex task. Often, the best way to figure out a problem is

 to work with others, which includes providing advice and suggestions on materials to search and

 how to complete a search. These collaborative processes are made easier when the team members

 are using the same platform for research. For example, it is easier to help a colleague, co-clerk, or

 classmate find the right case when you know the search terms that work and have experience with

 the search tools.

        95.     Together, these characteristics substantially increase the barriers to entry and

 expansion for actual and potential rivals in legal search platforms and protect Westlaw’s market

 position.

        96.     Westlaw also has significant and durable market and monopoly power in the market

 for public law database products.

        97.     No other available public law database product is as comprehensive as Westlaw’s

 product. Westlaw can guarantee that its database has every judicial opinion, every statute, and

 every regulation that has ever been published, unlike anyone else.

        98.     In addition, no other available public law database product is as reliable. Westlaw

 has effective mechanisms in place that are not available to other competitors to ensure that all new

 public law is quickly added to its database, and to ensure that mistakes in the database are

 efficiently identified and corrected.




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             99.    Westlaw’s database power is also protected by the Westlaw brand. Consumers

 know that Westlaw has been building its public law collection for over one hundred years, and that

 it is comprehensive and reliable. Consumers thus also know that if they pursue a legal research

 question for long enough – despite the fact that the research is probably taking longer than is

 needed because the legal search tools are just not that good – they eventually can find the right

 case. This level of reassurance is unique to Westlaw. In an industry where legal research can be

 the difference between keeping or losing a client, winning or losing a case, or even being

 sanctioned for failure to uphold professional responsibilities or not – people feel compelled to go

 with what everyone has used before (i.e., Westlaw).

             100.   This level of reassurance is also extraordinarily powerful, and only Westlaw can

 offer it.

 The Exclusionary Conduct

             101.   Westlaw has not maintained its monopoly power in the market for legal search

 platforms by legitimately building on its historical advantage through product innovation and

 investment. Instead, Westlaw has engaged in an intentional anticompetitive and exclusionary

 course of conduct to enhance entry barriers and raise costs to rivals. This course of conduct has

 reduced consumer choice and competition and stifled innovation – depriving the public of

 efficient, convenient, and affordable access to the public law.

             102.   Westlaw uses restrictive licensing conditions to foreclose rivals from access to the

 relevant markets. Westlaw’s exclusionary conduct is grounded in its anticompetitive business

 model, which only provides customers with access to its valuable database product through the

 integrated platform. This business model is akin to a tying scheme that raises entry barriers in the

 relevant markets and allows Westlaw to monopolize the distribution of public law.




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        103.    This restrictive condition is drafted into section 1(a) of the “Research Subscriber

 Agreement” (herein, the “Agreement”), which Westlaw states in the Complaint all platform users

 must follow.7 The Agreement is a contract of adhesion, and it defines “Data” to include “all

 information and representations of information, including but not limited to, graphical

 representations, and other content made available to [users] through the Product.”

        104.    Moreover, on information and belief, Westlaw has never provided consumers with

 an option to only license the public law database, or to only license the legal search tools, and does

 not plan to ever provide such an option.

        105.    Due to this licensing condition, customers that seek access to Westlaw’s highly

 valuable public law database are forced to also license the significantly less valuable Westlaw legal

 search tools. It is not possible to only license one and not the other. Customers that strongly prefer

 the better legal search tools that competitors offer are forced to buy Westlaw’s ineffective legal

 search tools to get access to Westlaw’s database. Given the significant cost to license Westlaw’s

 platform, these customers are unwilling to spend on yet another product.

        106.    These restrictive licensing conditions stifle innovation as well. But-for Westlaw’s

 refusal to separately license its digital public law collection, new companies would find ways to

 incorporate Westlaw’s database into their products, or build technology that allows their search

 engines to be compatible with Westlaw’s database. The refusal thus seriously harms consumer

 welfare both by forcing customers to purchase products they do not want, as well as raising the

 price and reducing output in the relevant markets for legal search products.




 7
  Counterdefendants appended the Research Subscriber Agreement to their Brief in Opposition to
 ROSS’s Motion to Dismiss the Complaint. See D.I.s. 16, 16-1. The Research Subscriber
 Agreement did not accompany the Complaint.


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        107.    Westlaw also uses restrictive licensing conditions to exclude rivals from valuable

 research and development opportunities. Westlaw blocks rivals from getting anywhere close to

 its Westlaw platform and the digital collection therein. Westlaw admits this in paragraph 28 of

 the Complaint when it remarks that even if ROSS sought to license the Westlaw platform, Westlaw

 “would not [] grant” ROSS “access to Westlaw” and its “vast amounts of legal content.” This

 exclusion is also drafted into the Agreement’s restrictive terms about how users may use, store,

 and disseminate material found on the platform. Westlaw states this succinctly in paragraph 19 of

 the Complaint, which sums up these terms of the Agreement as together “expressly prohibit[ing]

 [licensees] from using [the platform] to create a competitive product.”

        108.    Due to these licensing conditions, rivals are not allowed to license Westlaw, and

 are also not allowed to contract with Westlaw platform licensees to perform legitimate business

 activities, including to develop or test their own products. Westlaw denies rivals any path for

 access even if those rivals are willing to pay Westlaw’s commercial rates for access. This behavior

 has no procompetitive justification. This exclusionary conduct reduces entry from high-quality

 products, deters legitimate business activities, and depresses the competitive pressure to innovate.

 Though we have seen limited entry into the relevant markets from firms like Fastcase, Casemaker,

 and Casetext, these firms have struggled to gain traction or to constrain Westlaw’s monopoly.8

        109.    The general market impact of these restrictive conditions is just as severe. Indeed,

 a licensing agreement that “expressly prohibit[s] [licensees] from using [the platform] to create a

 competitive product” has the effect of prohibiting huge swaths of competitive activity in the legal

 business profession. Practicing lawyers violate the Agreement when they help incorporate,



 8
   Due to advancements in information digitalization, it is curious – and, indeed, astonishing – that
 the legal industry is one of the last remaining spaces where consumers need to pay for access to
 information.


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 finance, and defend through litigation market competitors; corporate counsel violate the

 Agreement when they rely on Westlaw to build state-surveys that include information already on

 the platform; law professors violate the Agreement when they rely on Westlaw to prepare material

 for an upcoming casebook.

         110.    Westlaw’s licensing conditions also illegitimately expose rivals to extraordinarily

 high professional and reputational risk. The government edicts and public law database are so

 severely co-mingled with the Westlaw legal search tools that it is impossible for a licensee to use

 Westlaw materials in legitimate ways without also risking a copyright lawsuit. The key numbers

 and headnotes cannot be separated from the government edicts either when viewed on the platform

 or printed. When viewing or printing the government edicts, the key numbers and headnotes are

 only a small part of the overall content and, in that context, are superfluous and not reproduced or

 used in any manner that would impact demand for key numbers or headnotes. Yet, nonetheless,

 Westlaw leverages the key numbers and headnotes to wrongfully and unfairly extend its alleged

 copyrights in those materials to control the unprotectable government edicts. Westlaw makes it

 impossible to separate the public law from Westlaw add-ons, even when the user does not want

 the add-ons. And the design and layout of Westlaw creates material confusion and uncertainty

 about what is a government edict and what is not. Upon information and belief, this is by design,

 in order to provide Westlaw practical control over the full content of the public law, despite the

 fact that the public law is not owned by Westlaw and Westlaw has no right to control it. Given

 these licensing and technical conditions, it is not difficult for Westlaw to find a way to sue its rivals

 for copyright infringement. And in fact, on information and belief, Westlaw has a long practice

 of aggressively pursuing such claims.




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         111.   Importantly, though, Westlaw is not advancing a legitimate interest in intellectual

 property rights through such filings. Instead, these lawsuits are a complete sham, brought to police

 the exclusionary platform access policies. Westlaw knows that its copyright assertions and claims

 are objectively baseless, as there is no dispute that government edicts and a comprehensive

 database are not copyright-eligible. It pursues these claims to force rivals into unnecessary,

 expensive legal fights solely to raise entry barriers, particularly to destroy nascent rivals before

 they can gain a toehold in the relevant markets.

         112.   This is exactly what happened to ROSS.           ROSS was beginning to build an

 enthusiastic user base in 2019 and become a market competitor. The company had just put a

 significant investment into building its spliced-and-put-back-together digital public law collection,

 and was receiving enthusiasm from the media and consumers fed up with Westlaw’s high prices

 and low-quality search tools.

         113.   It was only a few months thereafter that Westlaw pounced. In a sense, Westlaw’s

 anticompetitive course of conduct has been successful. To its own benefit, but everyone else’s

 loss.

         114.   There is no procompetitive justification for any of Westlaw’s exclusionary acts.

 The only justifications for Westlaw’s conduct are to maintain its monopoly control and to restrain

 trade. As a result, consumer welfare is significantly harmed. And just as importantly, access to

 justice is substantially denied.

         115.   ROSS was ultimately forced to exit the market, becoming the latest victim of

 Westlaw’s anticompetitive practices. Its unfortunate experience illustrates how Westlaw uses

 exclusionary tactics to harm nascent rivals, deter investment and entry, and protect its market

 position.




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                                        COUNT I
           (Declaratory Judgment of No Valid Copyrights in the Westlaw Content)

        116.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 115 above.

        117.    In its Complaint, Counterdefendants allege, inter alia, that ROSS directly and

 indirectly infringes the “Westlaw Content” by reproducing and creating a creative work based on

 Counterdefendants’ content.

        118.    It is well established in American law that judicial opinions and federal and state

 laws, including administrative rules and regulations, are not copyrightable, and must remain public

 as a matter of due process. See Wheaton v. Peters, 33 U.S. (8 Pet.) 591 (1834); Banks v.

 Manchester, 128 U.S. 244 (1888); Davidson v. Wheelock, 27 F. 61 (C.C.D. Minn. 1866) (holding

 publisher cannot copyright state statutes, even if state purports to give exclusive publishing rights);

 Howell v. Miller, 91 F. 129 (6th Cir. 1898) (“no one can obtain the exclusive right to publish the

 laws of a state”) (Harlan, J., sitting by designation); Nash v. Lathrop, 142 Mass. 29, 6 N.E. 559

 (Mass. 1886) (“Every citizen is presumed to know the law thus declared, and it needs no argument

 to show that justice requires that all should have free access to the opinions, and that it is against

 sound public policy to prevent this, or to suppress and keep from the earliest knowledge of the

 public the statutes or the decisions and opinions of the justices.”). See generally L. Ray Patterson

 & Craig Joyce, Monopolizing the Law: The Scope of Copyright Protection for Law Reports and

 Statutory Compilations, 36 UCLA L. Rev. 719 (1989), and cases cited therein.

        119.    Indeed, “[a]s a matter of longstanding public policy, the U.S. Copyright Office will

 not register a government edict that has been issued by any state, local, or territorial government,

 including legislative enactments, judicial decisions, administrative rulings, public ordinances, or




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 similar types of official legal materials.” Compendium of U.S. Copyright Office Practices, Third

 Edition, Sec. 313.6(C)(2).

         120.   ROSS is informed and believes, and on that basis alleges, that Counterdefendants

 have not contributed any original or creative authorship to the “Westlaw Content.” 17 U.S.C. §

 102(b); Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340 (1991). The judicial opinions and

 federal and state laws, including administrative rules and regulations, are written by government

 officials.

         121.   ROSS is informed and believes, and on that basis alleges, that Counterdefendants’

 key number system is a method of operation. See 17 U.S.C. § 102(b); Baker v. Selden, 101 U.S.

 99, 103 (1879).

         122.   In view of the foregoing, Counterdefendants have no legal rights, in copyright or

 contract, exclusive or otherwise, to restrict access to or publication of the judicial opinions, notes

 on decisions, headnotes, federal and state laws, including administrative rules and regulations, or

 any aspect of the Westlaw Content.

         123.   Thus, ROSS seeks declaratory judgment that Counterdefendants have no basis from

 which to prohibit ROSS from copyright, reproducing, or otherwise creating derivative works in

 the judicial opinions, notes on decisions, headnotes, federal and state laws, including

 administrative rules and regulations, or any aspect of the Westlaw Content, in its subscription legal

 research service.

         124.   Accordingly, and as evidenced by the Complaint demanding ROSS cease

 reproduction, publication or any other use of certain content, an actual justiciable controversy

 exists as to the parties’ respective rights in connection with judicial opinions, and with the laws,

 rules, and regulations of any other State or the Federal Government, and the Westlaw Content, as




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 to which Counterdefendants now claim or might hereafter claim any exclusive right, including the

 rights to use, license, publish, and distribute such laws, rules, and regulations.

        125.    To resolve the uncertainty raised by the Counterdefendants, and to afford ROSS

 relief from the uncertainty and controversy that the Counterdefendants’ assertions have

 precipitated, ROSS seeks a declaratory judgment that Counterdefendants have no protectable

 exclusive rights in the judicial opinions, notes on decisions, headnotes, federal and state laws,

 including administrative rules and regulations, or any aspect of the Westlaw Content, in either

 contract or copyright.

                                          COUNT II
                          (Declaratory Judgment of Non-Infringement)

        126.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 125 above.

        127.    ROSS’s use of LegalEase researcher-chosen quotes of case law directly from raw

 judicial opinions does not infringe any copyrights that Counterdefendants claim to have in any

 “Westlaw Content,” including because the judicial opinions and direct excerpts thereof are not

 entitled to copyright protection under the Copyright Act (17 U.S.C. § 101 et. seq.), government

 edicts doctrine, and the First Amendment of the United States Constitution.

        128.    There is no basis upon which Counterdefendants can allege copying of copyrighted

 material in the “Westlaw Content,” or any other act of infringement encompassed by the Copyright

 Act.

        129.    There is no basis upon which Counterdefendants can allege indirect copyright

 infringement of copyrighted material in the “Westlaw Content,” whether by inducing

 infringement, contributing to infringement or any other theory of indirect infringement

 encompassed by the Copyright Act.



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        130.    As evidenced by the allegations in the Complaint and in these Counterclaims, there

 is now an actual, substantial, and continuing justiciable controversy between ROSS and

 Counterdefendants with respect to the alleged infringement of any valid copyrights in the Westlaw

 Content.

        131.    To resolve the uncertainty raised by the Counterdefendants, and to afford ROSS

 relief from the uncertainty and controversy that the Counterdefendants’ assertions have

 precipitated, ROSS seeks a declaratory judgment that ROSS has not infringed, directly or

 indirectly, upon any of the Counterdefendants alleged rights in the Westlaw Content.

                                          COUNT III
                               (Declaratory Judgment of Fair Use)

        132.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 131 above.

        133.    ROSS’s use of LegalEase researcher-chosen quotes of case law directly from raw

 judicial opinions constitutes a fair use under 17 U.S.C. § 107.

        134.    To the extent Counterdefendants can allege copying of copyrighted material in the

 “Westlaw Content,” or any other act of infringement encompassed by the Copyright Act, such

 constitutes a fair use under 17 U.S.C. § 107.

        135.    There is no basis upon which Counterdefendants can establish that any alleged act

 of infringement is not barred by the doctrine of fair use pursuant to 17 U.S.C. § 107, in view of the

 nature of the works asserted by Counterdefendants and covered by the asserted copyrights, the

 amount (if any) and substantiality of the portions of such works used in relation to the works as a

 whole, the purpose and character of any use thereof, and the effect, if any, of such use on the

 potential market for the works.




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          136.   As evidenced by the allegations in the Complaint and in these Counterclaims, there

 is now an actual, substantial, and continuing justiciable controversy between ROSS and

 Counterdefendants with respect to the alleged infringement of any valid copyrights in the Westlaw

 Content.

          137.   To resolve the uncertainty raised by the Counterdefendants, and to afford ROSS

 relief from the uncertainty and controversy that the Counterdefendants’ assertions have

 precipitated, ROSS seeks a declaratory judgment that any allegedly infringing act by ROSS or

 LegalEase constitutes fair use and, therefore, does not constitute direct or indirect infringement.

                                              COUNT IV
                              (Declaratory Judgment of Copyright Misuse)

          138.   ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 137 above.

          139.   Copyright protection exists “to promote the Progress of Science and the useful

 Arts.”

          140.   Copyrights should not be enforced when such enforcement does not fulfill the

 Constitutional purpose of copyright protection.

          141.   Counterdefendants have utilized the Westlaw Content and the asserted copyrights

 in the Westlaw Content in an anticompetitive, wrongful, unfair and exclusionary manner.

          142.   The key numbers and headnotes cannot be separated from the government edicts

 either when viewed on the platform or printed. In this way, and through their unfair licensing

 practices, Counterdefendants leverage the key numbers and headnotes of the Westlaw Content to

 wrongfully and unfairly extend their alleged copyrights in those materials to control the

 unprotectable government edicts.




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        143.    Counterdefendants’ use of the Westlaw Content and the asserted copyrights in the

 Westlaw Content does not comport with the Constitutional purposes of copyright protection.

        144.    As evidenced by the allegations in the Complaint and in these Counterclaims, there

 is now an actual, substantial, and continuing justiciable controversy between ROSS and

 Counterdefendants with respect to the alleged infringement of any valid copyrights in the Westlaw

 Content.

        145.    To resolve the uncertainty raised by the Counterdefendants, and to afford ROSS

 relief from the uncertainty and controversy that the Counterdefendants’ assertions have

 precipitated, ROSS seeks a declaratory judgment that Counterdefendants’ assertion of and

 practices regarding the Westlaw Content and the asserted copyrights in the Westlaw Content

 constitute copyright misuse.

        146.    As a result of Counterdefendants’ misuse of their copyrights, Counterdefendants’

 copyrights should be invalidated, and ROSS is entitled to appropriate attorneys’ fees and costs.

                                         COUNT V
               (Declaratory Judgment of No Tortious Interference with Contract)

        147.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 146 above.

        148.    As evidenced by the allegations in the Complaint and in these Amended

 Counterclaims, there is an actual and ongoing controversy between ROSS and Counterdefendants

 as to whether ROSS tortiously interfered with LegalEase’s contract with Counterdefendants.

        149.    Counterdefendants’ claim requires a showing that LegalEase had a contract with

 Counterdefendants, that ROSS knew of the existence of this contract, that ROSS intentionally

 instructed LegalEase to breach the contract without justification, that Counterdefendants were

 harmed, and that ROSS’s conduct was a substantial factor in Counterdefendants’ harm.



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        150.    ROSS did not direct or in any way encourage LegalEase to breach any third-party

 contract, including without limitation LegalEase’s contract with Counterdefendants. ROSS further

 did not direct or control LegalEase conduct in connection with researching and obtaining raw

 judicial opinions.

        151.    For these reasons, ROSS maintains that it did not tortiously interfere with any

 contract between LegalEase and Counterdefendants.

        152.    To resolve the uncertainty raised by the Counterdefendants, and to afford ROSS

 relief from the uncertainty and controversy that the Counterdefendants’ assertions have

 precipitated, ROSS seeks a declaratory judgement that ROSS did not tortiously interfere with

 Counterdefendants’ contract with LegalEase.

                                        COUNT VI
                  (Sherman Act § 2: Unlawful Monopoly Maintenance in the
                             Legal Search Platforms Market)

        153.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 147 above.

        154.    Counterdefendants’ conduct violates Section 2 of the Sherman Act, which prohibits

 the “monopoliz[ation of] any part of the trade or commerce among the several States, or with

 foreign nations.” 15 U.S.C. § 2.

        155.    The market for legal search platforms is a valid antitrust market.

        156.    Counterdefendants hold monopoly power in this market.

        157.    Counterdefendants unlawfully maintain their monopoly power in this market

 through the exclusionary acts described herein. These exclusionary acts serve no legitimate or

 procompetitive purpose that could justify their anticompetitive effects.

        158.    Counterdefendants’ conduct affects a substantial volume of interstate commerce.




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        159.    Counterdefendants’ conduct has substantial anticompetitive effects, including

 increased prices and costs, lower output, and reduced innovation and quality of product options.

        160.    As a nascent market competitor, ROSS has been harmed by Counterdefendants’

 anticompetitive conduct in a manner that the antitrust laws were intended to prevent. ROSS has

 suffered and continues to suffer harm and irreparable injury, and such harm and injury will not

 abate until an injunction ending Counterdefendants’ anticompetitive conduct issues.

        161.    To prevent these ongoing harms, the Court should enjoin the anticompetitive

 conduct complained of herein, and should award ROSS monetary damages.

                                        COUNT VII
                   (Sherman Act § 1: Unreasonable Restraint of Trade in the
                              Legal Search Platforms Market)

        162.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 161 above.

        163.    Counterdefendants’ conduct violates Section 1 of the Sherman Act, which prohibits

 “[e]very contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade

 or commerce among the several States, or with foreign nations.” 15 U.S.C. § 1.

        164.    The market for legal search platforms is a valid antitrust market.

        165.    Counterdefendants’ unlawfully restrain trade in this market through the

 anticompetitive acts described herein.       These anticompetitive acts serve no legitimate or

 procompetitive purpose that could justify their anticompetitive effects.

        166.    Counterdefendants’ conduct and unlawful contractual restraints affect a substantial

 volume of interstate commerce.

        167.    Counterdefendants’ conduct has substantial anticompetitive effects, including

 increased prices and costs, lower output, reduced innovation, and reduced quality of product

 options.


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        168.    As a nascent market competitor, ROSS has been harmed by Counterdefendants’

 unlawful contractual restraints in a manner that the antitrust laws were intended to prevent. ROSS

 has suffered and continues to suffer harm and irreparable injury, and such harm and injury will not

 abate until an injunction ending Counterdefendants’ anticompetitive restraints issues.

        169.    To prevent these ongoing harms, the Court should enjoin the anticompetitive

 conduct complained of herein, and should award ROSS monetary damages.

                                           COUNT VIII
                               (California Unfair Competition Law)

        170.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 169 above.

        171.    Counterdefendants and ROSS both pursue substantial volumes of interstate

 commerce as well as commerce within the State of California.

        172.    Counterdefendants’ actions described herein constitute unlawful, unfair, or

 fraudulent acts or practices in the conduct of business, in violation of California’s Business and

 Professions Code Section 17200 et seq., including actions that are forbidden by other laws.

        173.    Counterdefendants’ conduct is unlawful, unfair, or fraudulent because it is in

 violation of Sections 1 and 2 of the Sherman Act, and also in violation of the policy or spirit of the

 Sherman Act.

        174.    Counterdefendants’ conduct is unlawful, unfair, or fraudulent because it is in

 violation of the Copyright Act, and also in violation of the policy or spirit of the Copyright Act.

        175.    As a result of Defendants’ various acts, ROSS has been harmed and has lost money

 and property in the form of, among other things, costs to defend itself against the Complaint, costs

 to bring these counterclaims, and costs to survive in the market in spite of the unfair market

 conditions.



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                                         COUNT IX
                           (Delaware Common Law Unfair Competition)

        176.    ROSS incorporates by reference each and every allegation contained in Paragraphs

 1 through 175 above.

        177.    As established by the facts pled supra, ROSS had a business expectancy to sell its

 legal search platform product in the market, having received encouragement in the industry and

 indications from customers that they would purchase access to the ROSS platform once it was tied

 to a reliable database.

        178.    As discussed supra, Westlaw took unfair business actions to prevent ROSS from

 legitimately earning revenue in the relevant market. These acts were taken with the intent to cause

 competitive harm and, in certain cases, disparage ROSS.

        179.    But for Westlaw’s unfair business actions, ROSS would have made sales of its

 product in the relevant market.

        180.    Counterdefendants’ actions described herein constitute unlawful, unfair, or

 fraudulent acts or practices in the conduct of business, in violation of common law unfair

 competition laws.

                                     RELIEF REQUESTED

        WHEREFORE, ROSS respectfully requests the following relief:

        A.      The entry of judgment on the Complaint in favor of ROSS, and against

 Counterdefendants, with Counterdefendants not being awarded any relief of any kind;

        B.      The entry of judgment declaring that Counterdefendants do not have valid

 copyrights in the “Westlaw Content”;

        C.      The entry of judgment declaring that ROSS has not infringed, directly or indirectly,

 Counterdefendants’ copyrights;



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           D.     The entry of judgment declaring that any alleged use of Counterdefendants’

 copyrights constitutes fair use;

           E.     The entry of judgment declaring that Counterdefendants have engaged in misuse of

 their copyrights and that Counterdefendants’ copyrights are invalidated;

           F.     The entry of judgment declaring that ROSS did not tortiously interfere with

 LegalEase’s contract with West; and

           G.     Enjoining Counterdefendants’ acts in support of its unlawful monopoly

 maintenance in the market and its unreasonable restraint on trade in the market.

           H.     Monetary relief, including all forms of available damages and monetary relief in

 equity.

           I.     The entry of judgment declaring that ROSS is the prevailing party under 17 U.S.C.

 § 505.

           J.     Appropriate attorneys’ fees and costs.

           K.     Such other and further relief, in law or equity, as this Court deems just and proper

 under the circumstances.

                                          JURY DEMAND

           Pursuant to Federal Rule of Civil Procedure 38(b) and Local Rule 38.1, ROSS respectfully

 requests a trial by jury on Plaintiffs’ Complaint and on ROSS’s Amended Counterclaims for all

 issues so triable.




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